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  Vincent Riggs, Fayette Circuit Clerk

   120 N. Limestone, Room D-157                       111111111111111111 ll
   Lexington, KY 40507-1152




  JOHN E WATERCUTTER
  2317 ALUMNI PARK PLAZA. STE. 200
  LEXINGTON, KY 40517




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  AOC-E-105         Sum Code: Cl
  Rev. 9-14                                                                              Case#: 15-Cl-01707

  Commonwealth of Kentucky                                                               Court:    CIRCUIT
  Court of Justice Courts.ky.gov
                                                                                         County: FAYETTE
  CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


 Plantiff, BOWMAN, DESIREE VS. CENTRAL KENTUCKY MANAGEMENT SERVICES, INC, Defendant


    TO: JOHN E WATERCUTTER
        2317 ALUMNI PARK PLAZA, STE. 200
        LEXINGTON, KY 40517

The Commonwealth of Kentucky to Defendant:
CENTRAL KENTUCKY MANAGEMENT SERVICES, INC

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address( es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.



                                                                 ,'s/ Vincent Riggs, Fayette Circuit Clerk
                                                                 Date: 05/08/2015




                                                  Proof of Service
    This Summons was:

D   Served by delivering a true copy and the Complaint (or other initiating document)

      To:
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BOWMAN. DESIREE VS CENTRAL KENTUCKY MANAGEMENT SERVICES. INC


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                                                       Vincent Riggs, Fayette Circuit Clerk




  CIVIL CASE No.                                                 FAYETTE COUNTY CIRCUIT COURT
                                                                                 DIVISION - - - -

  DESIREE BOWMAN                                                                            PLAINTIFF
  304 BELL LAWN
  NICHOLASVILLE, KY 40356
  v.                             COMPLAINT AND JURY DEMAND

  CENTRAL KENTUCKY MANAGEMENT SERVICES,                                                  DEFENDANT
  INC.
  2317 ALUMNI PARK PLAZA, STE 200
 LEXINGTON, KENTUCKY 40517

                  SERVE: JOHN E. W ATTERCUTTER
                  2317 ALUMNI PARK PLAZA, STE 200
                  LEXINGTON, KY 40517



          Cornes the Plaintiff, Desiree Bowman, by counsel, and for her Complaint states as follows:

                                         NATURE OJF ACTION

 1. This is an action brought by a consumer for violations of the Fair Debt Collection Practices Act,

       15 U.S.C. §§ 1692 -16920 ("FDCPA").

 2.    Defendant Central Kentucky Management Services, Inc. (CKMS) is a debt collector collecting

       on a debt it alleges Ms. Bowman's daughter, Claire Bowman, owes.
 3. Despite the provisions of the FDCPA that prohibit debt collectors from using ((unfair or

       unconscionable means to collect or attempt to collect any debt" and "false, deceptive, or

       misleading representations or means in connection with the collection of any debt"

       Defendant CKMS threatened Ms. Bowman that her daughter may be imprisoned if her
       daughter's debt to Defendant CKMS was not paid.

                                           JURISDICTION

 4. This Court has jurisdiction pursuant to the FDCPA, 15 U.S.C. §1692k(d).
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 5. The amount in controversy exceeds the jurisdictional requirement.                                   "'
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 6. Venue is proper in this Court because the Defendant's principal place of business is in Fayette     Q
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       County, KY.                                                                                      "'


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                                                PARTIES

 9. Plaintiff, Desiree Bowman, is a natural person who resides in Jessamine County, Kentucky.

     Ms. Bowman is a "consumer" within the meaning of the FDCPA, as defined at 15 U.S.C. §

     1692a(3).

 10. Defendant CKMS, is a Kentucky corporation is engaged in the business of col1ecting debts on
     behalf of creditors from citizens of the Commonwealth. CKMS 's principal place of business

     is 2317 Alumni Park Plaza, Suite 200, Lexington, KY 40517.

 11. Defendant CKMS regularly collects or attempt to collect debts owed or due or asserted to be

     owed or due another, and is a ((debt collector" within the meaning of the FDCPA, as defined

     by 15U.S.C.§1692a(6).
                                                FACTS
 12. Plaintiff incorporates all previous allegations as though restated here in full.

 13. Plaintiff's daughter, Claire Bowman, is disabled and unable to work or earn income.

 14. In February 2014, Plaintiff's daughter underwent surgery at UK Hospital in Lexington, KY,

     resulting in approximately $9,000.00 in charges.

 15. Plaintiff did not receive bills for these charges until May 2014.

 16. After receiving these bills, Plaintiff called UK Hospital and was told all of the billed charges
     had been turned over to collections with Defendant CKMS.
 17. Plaintiff then called Defendant CK.MS and spoke to a representative. Plaintiff asked the

     representative if her daughter could be sent to prison if these bills were not paid. The
     representative told her that it was possible.

 18. Based on that representation, Plaintiff began making $25.00 payments to Defendant CKMS
     in June 2014 and continued making them through December 2014.

                     CLAIM FOR RELIEF: VIOLATION OF THE FDCPA                                           «>
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 19. Plaintiff incorporates all previous allegations as though restated here in full.                   'O
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 20. The above conduct by Defendant CKMS constituted violations of the FDCPA, including but             "'00
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     not limited to the following:

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                          1.    Violation of 15USC§1692d: Defendant CKMS engaged in conduct the natural

                                consequence of which is to harass, oppress, or abuse any person in connection

                                with the collection of a debt. Namely, Defendant CKMS threatened Plaintiff with

                                criminal sanction against Plaintiff's daughter in connection with the collection of

                                Plaintiff's daughter's debt.

                          2.    Violation of 15USC§1692e(4): Defendant falsely represented to Plaintiff that

                                nonpayment of her daughter's debt could result in her daughter's arrest or

                                imprisonment.

                          3.    Violation of 15USC§1692e(5): Defendant threatened to take action, namely

                                criminal sanction and imprisonment, that could not legally be taken.

             21. As a direct result of these actions, Plaintiff is entitled to an award of actual damages,

                  statutory damages, attorney's fees, and costs.

             WHEREFORE, Plaintiff, Desiree Bowman, requests that this Court:

             l.   Grant Plaintiff a jury trial;

             2. Award Plaintiff actual damages;

             3. Award Plaintiff statutory damages;

             4. Award Plaintiff reasonable attorney's fees and costs; and

             5. Such other relief as may be just and proper.

                                                               Respectfully submitted,




                                                               Ben Carter
                                                               Joshua Goodnewt
                                                               Ben Carter Law PLLC
                                                               Marion E. Taylor Building, 6th Floor
                                                               312 South Fourth Street
                                                               Louisville, KY 40202
                                                               Tel:   (502) 509-3231
                                                               Fax:   (502) 792-7511
                                                               ben@bencarterlaw.com
                                                               Counsel for PlaintiffDesiree Bqwman

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             No.
                   -----                                                               FAYETTE Cm.CUIT COURT
                                                                                              DIVISION
                                                                                                             ---
             DESIREE BoWMAN                                                                              PLAINTIFF

             vs.                            PLAINTIFF'S FmsT DlsCOVERY REQUESTS

             CENTRAL KENTuCKY MANAGEMENT SERVICES, INC.                                              DEFENDANTS
                                                           *********
                       Pursuant to Kentucky Rules of Civil Procedure 33, 34, and 36, Plaintiff, Desiree Bowman,
             by counsel, propound on Defendant Central Kentucky Management Services, LLC, ("CKMS,,
             or "Defendant") Frrst Discovery Requests:
             REQUESTS FOR PRODUCTION OF DOCUMENTS
             1. Produce any and all documents, or the forms thereof, transmitted to Plaintiff, or her daughter

                   Claire Bowman, by or on behalf of Defendant with regard to Plaintiff's daughter's account
                   ref. #2300280 ("the account").
             2. Produce any and all documents reflecting Defendant's purchase or ownership of the account.

             3. Produce any and all documents concerning the account and Defendant's efforts to investigate

                   and collect thereon, including all internal collection records, collection screens, audit records,
                   credit reports, skip trace reports, and correspondence.
             4. Produce any and all records of phone calls made to or from Plaintiff or her daughter

                   concerning the account, including but not limited to all telephone logs, recordings and
                   transcripts of telephone calls, and the text of any telephone messages left.
             5. Produce any and all documents concerning your procedures reasonably adapted to make sure

                   a debtor is not contacted once defendant receives notice of representation or a cease
                   collection request.
             6. Produce any and all correspondence sent to or from Plaintiff or her daughter concerning the
                   account.




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             7. Produce any and all documents identified in or relied upon to answer the following
                  interrogatories.



             INTERROGATORIES
             Interrogatory 1: Provide the name, address, and job title of anyone who assisted in the
             preparation of the responses to these discovery requests. If more than one name is provided,

             identify to which interrogatory, request for production, or admission the person assisted

             responding.
             A:


             Interrogatory 2: State the date of each communication from and to Plaintiff and from and to any
             servicer, forwarder, or intermediary with regard to the account, and identify all parties to the
             communication.

             A:


             lnterro,gator,y 3: Set forth a plain English translation or transcript of the full "contact history,"
             media, collection, servicing, or credit records Defendant has been asked to produce in the above
             Requests for Production.
             A:


             Interro,ptoa 4: Identify the date and nature of all documents and information Defendant
             received about the account before Defendant began collection efforts regarding the account

             placed with you for collection.

             A:


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                                                                     Respectfully Submitted,




                                                                      oshua Goodnewt
                                                                          EN CARTER LAW PLLC
                                                                     312 South Fourth Street, Sixth Floor
                                                                     Louisville, KY 40202
                                                                     502 509 3231
                                                                     ben@bencarterlaw.com
                                                                     bencarterlaw.com
                                                                     Counsel for Plaintiff

                                                  CERTIFICATE OF SERVICE

                       The above signature certifies that Defendant's counsel mailed this document, postage

                prepaid to the following this the 8th day of May, 2015.

                John E. Watercutter,Jr.
                2317 Alumni Park Plaza, Ste 200
                Lexington, KY 40517
                Registered agent for Defendant Central Kentucky
                Management Services> Inc.




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